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                   Schedule 1.10 to First Amended Joint Plan of Reorganization
                                              and
                       Exhibit “E” to First Amended Disclosure Statement

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
Liberty View, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Attorneys for the Debtors

In re:                                                       Case No. 08-14631

Shapes/Arch Holdings L.L.C.,                                 Judge: Gloria M. Burns
Shapes L.L.C., Delair L.L.C., Accu-Weld
L.L.C., and Ultra L.L.C.                                     Chapter: 11

    BID PROCEDURES FOR ALTERNATIVE TRANSACTION AND BREAK-UP FEE

         On April 24, 2008, Shapes/Arch Holdings, LLC and related entities, the above-captioned
Debtors and Debtors in possession (the “Debtors”) filed the Debtors’ First Amended Plan of
Reorganization (including all exhibits thereto and as the same may be further amended, modified
or supplemented from time to time, the “Plan”)1 [Docket No. •] and the Debtors’ First Amended
Joint Disclosure Statement for the Debtors’ First Amended Joint Plan of Reorganization
(including all exhibits thereto and as the same may be further amended, modified or
supplemented from time to time, the “Disclosure Statement”). By Order dated April ___, 2008
[Docket No. •] (the “Disclosure Statement Order”), the Bankruptcy Court approved, among other
things, the Disclosure Statement as containing “adequate information” as that term is defined in
section 1125 of the Bankruptcy Code; (ii) procedures for the solicitation of votes to accept or
reject the Plan; and (iii) procedures for the tabulation of votes accepting or rejecting the Plan.




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         Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to such terms in the
Plan. Nothing contained herein shall constitute an admission that Bank of Am. Nat’l Trust & Sav. Assoc. v. 203 N.
LaSalle St. Partnership (“LaSalle”), 526 U.S. 434 (1999)applies to the Plan. Furthermore, these Bid Procedures
only apply in the event claims in Class 5 of the Plan vote to reject the Plan and the Bankruptcy Court denies
confirmation of the Plan solely based on a finding that the treatment of Class 5 in the Plan is not fair and equitable
under Bankruptcy Code § 1129(b)(2)(B)(ii) and that in order for the Plan to be confirmed the issuance of the New
LLC Interests to the Plan Funders must be exposed to market pursuant to LaSalle.


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                                      The Plan and Confirmation

        The Plan is the product of diligent efforts by the Debtors to formulate a plan that provides
for a fair means for the Debtors to emerge from chapter 11 in an orderly manner, consistent with
the mandates of the Bankruptcy Code and other applicable law. The value, as determined by the
Debtors, of the proposal submitted by the Plan Funders under the Plan is not less than
$85,500,000, which compromises (i) approximately $55,000,000 for the revolving credit
obligations due and owing to CIT-DIP Lenders; (ii) the Plan Funding Debt Commitment of
$25,000,000; (iii) the Plan Funding Equity Commitment of up to $5,500,000 on the Effective
Date and utilized to pay all other obligations due and owing under the Plan. Such amounts and
the Plan are subject to modification between the date of approval of the Disclosure Statement
Order and May 25, 2008.

       The marketing of the Debtors’ interests being transferred under the Plan are being
pursued as a result of the occurrence of an Alternate Transaction Trigger.

        The Bankruptcy Court, through the Disclosure Statement Order, additionally authorized
the Debtors to establish a process to offer for sale the equity interests in the Debtors to be
distributed to the Plan Funders under the Plan in Section 5.4 through the process and procedures
set forth below (the “Bid Procedures”).

       The Disclosure Statement Order does not require the Debtors to hire an investment
banker or other professional to implement these Bid Procedures.


                                     Participation Requirements

       All Bids (as defined below) must be submitted in writing so that they are actually
received no later than 4:00 p.m. (Eastern time) on June 13, 2008 (the “Bid Deadline”). Each
Qualified Bidder (as defined below) must deliver copies of its Bid to counsel for the Debtors,
Cozen O’Connor, LibertyView, Suite 300, 457 Haddonfield Road, Cherry Hill, NJ 08002,
Attention: Mark Felger, Esquire; (ii) counsel for the Plan Funders, Blank Rome LLP, One Logan
Square, Philadelphia, PA 19103, Attention: Joel C. Shapiro, Esquire; (iii) counsel for the
Committee, Halperin Battaglia Raicht, LLP, 555 Madison Avenue, 9th Floor, New York, NY
10022, Attention: Alan D. Halperin, Esquire; and (iv) counsel for CIT-DIP Lenders, Stradley
Ronon Stevens & Young, LLP, 2600 One Commerce Square, Philadelphia, PA 19103,
Attention: Paul A. Patterson, Esquire.

                1.      Bid Qualification Requirements. The following Bid Procedures are for the
sole benefit of the Debtors, their estates, and the Arcus Holders DIP lenders and the CIT DIP
Lenders and are not for the benefit of any other entity (including, without limitation, any bidder
or creditor of any of the Debtors). These Bid Procedures shall apply with respect to the Sale:

                         a.       Qualification as Bidder. Debtors, after consultation with the
                                  Committee, will determine whether an entity (a “Potential Bidder”)
                                  that wishes to make an offer is a “Qualified Bidder.” For a
                                  Potential Bidder to be considered eligible as a Qualified Bidder, it
                                  must provide Debtors and Committee within two (2) days of entry

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                                  of the order denying confirmation of the Plan for the specific
                                  reason stated in footnote 1 hereof with: (i) an executed
                                  confidentiality agreement identical to the confidentiality agreement
                                  executed by Arch Acquisition I, LLC; (ii) current audited financial
                                  statements of the Potential Bidder or, if the Potential Bidder is an
                                  entity formed for the purpose of engaging in an offer (an
                                  “Acquisition Entity”), current audited financial statements of the
                                  equity holder(s), manager(s), or controlling entity(ies) of the
                                  Potential Bidder or such other financial disclosure, acceptable to
                                  Debtors and the Committee, demonstrating such Potential Bidder’s
                                  ability to close a proposed transaction; (iii) a written statement by
                                  the Potential Bidder stating that it (x) agrees to be bound by the
                                  terms and conditions of the Order of the Bankruptcy Court
                                  approving the Disclosure Statement and these Bid Procedures and
                                  the form of Plan, and (y) further agrees that it has no right to
                                  enforce these Bid Procedures or to assert claims arising from these
                                  Bid Procedures or any change to the Bid Procedures against the
                                  Debtors, their estates or any other entity; and (v) if the Potential
                                  Bidder is an Acquisition Entity, a written guarantee, letter of credit
                                  or other form of credit enhancement acceptable to Debtor (after
                                  consultation with the Committee) pursuant to which the equity
                                  holder(s), manager(s), or controlling entity(ies) of the Potential
                                  Bidder are responsible for the Potential Bidder’s obligations in
                                  connection with the consummation of the Plan. The Potential
                                  Bidder also must establish that it has the ability to consummate its
                                  proposed transaction within the timeframe contemplated by these
                                  Bid Procedures and the Plan. Plan Funders are, and at all times
                                  shall be deemed to be, a Qualified Bidder entitled to participate in
                                  the Auction (as defined below).

                         b.       Bid Requirements.

                                  i.     Debtors, after consultation with the Committee, will
                                         determine whether a bid qualifies as a “Qualified Bid.” To
                                         constitute a Qualified Bid: (a) the bid must be a written
                                         irrevocable offer from a Qualified Bidder agreeing to be
                                         bound by all terms, provisions and undertakings in the Plan
                                         and containing written evidence of cash/liquid assets and/or
                                         a commitment for financing or other evidence of an ability
                                         to consummate the Plan evidencing at least eighty five
                                         ($85,500,000) million five hundred thousand dollars in
                                         aggregate availability, subject to no conditions other than
                                         those set forth in the Plan, in either event satisfactory to
                                         Debtors; (b) the bid must include evidence of authorization
                                         and approval from the Qualified Bidder’s Board of
                                         Directors or comparable governing body indicating that the
                                         Qualified Bidder is duly authorized to perform all terms,

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                                         provisions and undertakings in the Plan, and in this Order;
                                         (c) the bid must be to fund all distributions required under
                                         the Plan to be consummated on or before June 30, 2008; (d)
                                         the bid must not request or entitle the bidder to any
                                         termination or break-up fee, expense reimbursement or
                                         similar type of payment (unless the Qualified Bidder is the
                                         Plan Funder); (e) must be in an initial cash amount of
                                         $8,500,000.00 (inclusive of the Break-Up Fee due and
                                         owing to the Plan Funders) in respect of the New LLC
                                         Interests, provide for satisfaction of the CIT-DIP
                                         Obligations and the DIP Obligations to Arcus no later than
                                         June 30, 2008, and provide for the payment of all
                                         obligations under the Plan due on the Effective Date (no
                                         later than June 30, 2008); and (f) the bid must acknowledge
                                         and represent that the Qualified Bidder: (1) has had an
                                         opportunity to conduct any and all due diligence regarding
                                         Debtors’ businesses and assets prior to making its offer; (2)
                                         has relied solely upon its own independent review,
                                         investigation and/or inspection of any documents and/or
                                         Debtors’ assets in making its bid; and (3) did not rely upon
                                         any written or oral statements, representations, promises,
                                         warranties or guaranties whatsoever, whether express,
                                         implied, by operation of law or otherwise, regarding the
                                         proposed transaction, or the completeness of any information
                                         provided in connection therewith or the Auction (as defined
                                         below), except as expressly stated in the Order of the
                                         Bankruptcy Court approving these Bid Procedures. The
                                         Plan Funder is deemed a Qualified Bidder and the Plan is
                                         deemed a Qualified Bid.

                                  ii.    All bids must include the clean version of the Plan being a
                                         duly executed original to and in the form of the Plan,
                                         signed by the Qualified Bidder.

                                  iii.   Deposit. Each Potential Bidder’s bid must be accompanied
                                         by a deposit in an amount that is equal to nine million
                                         dollars ($9,000,000, hereinafter the “Deposit”). Prior to the
                                         Bid Deadline (as defined below), the Deposit is to be
                                         delivered by the Qualified Bidder to the Debtors’ counsel
                                         under the Escrow Agreement in the form of a wire transfer
                                         to:

                                         [Bank]
                                         [ABA #]

                                  iv.    Additional Requirements for Bids. Bids must be: (a) in
                                         writing; (b) signed by an individual authorized to bind the

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                                          Potential Bidder; and (c) received no later than 4:00 p.m.
                                          (EST) on June 13, 2008 (the “Bid Deadline”), by counsel
                                          for Debtors, Cozen O’Connor, LibertyView, Suite 300, 457
                                          Haddonfield Road, Cherry Hill, NJ 08002, Attention:
                                          Mark Felger, Esquire; and (ii) counsel for the Plan Funders,
                                          Blank Rome LLP, One Logan Square, Philadelphia, PA
                                          19103, Attention: Joel C. Shapiro, Esquire; (iii) counsel for
                                          the Committee, Halperin, Battaglia Raicht, LLP, 555
                                          Madison Avenue, 9th Floor, New York, NY 10022-3301,
                                          Attention: Alan D. Halperin, Esquire; and (iv) counsel for
                                          CIT-DIP Lenders, Stradley Ronon Stevens & Young, LLP,
                                          2600 One Commerce Square, Philadelphia, PA 19103,
                                          Attention: Paul A. Patterson, Esquire.

                                  v.      No Conditions. Any bid must be subject to the terms of the
                                          Plan and not be subject to financing, due diligence,
                                          acquisition of any Excluded Asset, or any other condition
                                          or contingency less favorable to than those set forth in the
                                          Plan, as determined by Debtors in its reasonable discretion
                                          after consultation with the Committee; provided, however
                                          that a Winning Bidder (as that term is defined hereafter)
                                          may require technical modification of the Plan to identify
                                          itself as the new plan funder and to specify the increased
                                          cash consideration to be paid Class 5 relating to the New
                                          LLC Interests’ issuance to the Winning Bidder.

                                  vi.     Initial Overbid. An initial overbid shall be a superior offer
                                          (“Superior Offer”). Of the $8,500,000 cash required in the
                                          Superior Offer, (a) $5,500,000 will be used to purchase
                                          New LLC Interests; (b) $2,500,000 shall be paid to Plan
                                          Funders in the event they are not the successful bidder and
                                          (c) an initial overbid of $500,000.00 which shall be paid to
                                          the Class 5 Pool. All consideration relating to any
                                          additional bids made under Section (d)(iv) below will be
                                          transferred to the Class 5 Pool.

                                  vii.    Qualified Bid. Only a bid submitted by a Qualified Bidder
                                          that meets the requirements set forth in this section (b) shall
                                          be considered a “Qualified Bid.”

                                  viii.   Bankruptcy Court Approval. All bids, including that of
                                          Plan Funder (whether through the Plan or otherwise), shall
                                          be subject to the approval of the Bankruptcy Court.

                         c.       Due Diligence.




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                                  i.    Diligence and Confidentiality Agreement. Debtors shall
                                        provide “due diligence” information and documents related
                                        to Debtors’ businesses and assets as well as the Assumed
                                        Contracts and Assumed Obligations consistent with all due
                                        diligence information provided to Arch Acquisition I, LLC
                                        under its Confidentiality Agreement, updated as
                                        appropriate. Debtors make no representation or warranty
                                        regarding the nature, accuracy or in any other respect in
                                        connection with the contents of the due diligence. Debtors
                                        will designate an employee or other representative to
                                        coordinate all reasonable requests for additional
                                        information and due diligence access from Qualified
                                        Bidders. All due diligence must be completed by June 13,
                                        2008 and no access to the due diligence will be provided to
                                        Qualified Bidders after June 13, 2008. Debtors, its
                                        affiliates or any of its respective representatives are not
                                        obligated to furnish any information to any person except a
                                        Qualified Bidder. Any information and documents
                                        provided by the Debtors to any Qualified Bidder shall be
                                        promptly and, where possible, contemporaneously provided
                                        to all Qualified Bidders. Any Qualified Bidder who desires
                                        to conduct due diligence should contact David Gollin,
                                        General Counsel, Shapes/Arch Holdings L.L.C., 9000
                                        River Road, Delair, NJ 08110 for the due diligence
                                        procedures.

                         d.       Auction.

                                  i.    Auction Date and Time. If a Superior Offer is submitted
                                        other than the Plan, then Debtors shall conduct an auction
                                        (the “Auction”) of the new LLC’s interests being
                                        transferred under the Plan to the Plan Funders. The
                                        Auction will be held on June 16, 2008, commencing at
                                        12:00 noon (EST) at the offices of Cozen O’Connor, 1900
                                        Market Street, Philadelphia, PA 19103, or such other time
                                        and place as may be established by Debtors, after detailed
                                        consultation with the Committee (and is reasonably
                                        acceptable to Plan Funders), prior to the Confirmation
                                        Hearing Date, for consideration of Qualified Bids. Only
                                        the authorized representatives of any Qualified Bidders that
                                        timely submitted a Qualified Bid, the Committee, the
                                        Debtors and the Plan Funders shall be permitted to attend
                                        the Auction.

                                  ii.   Auction Procedures. All Qualified Bidders participating in
                                        the Auction must be physically present at the Auction. At
                                        the Auction, the Debtors, in consultation with the

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                                         Committee, in its reasonable business judgment, may adopt
                                         rules for the Auction that will promote the goals of the
                                         Auction but such rules cannot be inconsistent with any
                                         other provisions of the Plan. Any such additional rules
                                         shall be subject to the approval of Plan Funders and shall at
                                         all times provide that: (a) all procedures must be fair and
                                         open with no participating Qualified Bidder being
                                         disadvantaged as compared to any other participating
                                         Qualified Bidder; (b) all bids shall be made on an open
                                         basis, and participating Qualified Bidders shall be entitled
                                         to be present for all bidding; and (c) the principals of each
                                         participating Qualified Bidder shall be fully disclosed to all
                                         other participating Qualified Bidders throughout the entire
                                         Auction. If no Potential Bidder makes the timely
                                         submissions required in para. 1(b) herein and is determined
                                         to be a Qualified Bidder, or if no Superior Offer (other than
                                         that of the Plan Funder) is received by the Bid Deadline,
                                         then no Auction shall take place, and the Debtors shall, at
                                         the Continued Confirmation Hearing, request: (x) that the
                                         Plan be deemed the highest and best offer for the Debtors’
                                         business, (y) confirmation of the Plan, and (z) entry of the
                                         Confirmation Order.

                                  iii.   Evaluation of Highest or Best Offer. Debtors shall,
                                         promptly after the Bid Deadline, after consultation with the
                                         Committee: (a) evaluate all bids, if any, received, and (b)
                                         determine which bids, if any, constitute Qualified Bids.
                                         Debtors shall provide Plan Funder and the Committee with
                                         copies of all Qualified Bids not more than one (1) business
                                         day after receipt. During the course of the Auction,
                                         Debtors shall inform each participating Qualified Bidder
                                         which Qualified Bid or Bids reflect, in Debtors’ view, after
                                         detailed consultation with the Committee, the highest or
                                         best offer. Debtors may only accept bids which seek to
                                         increase the dividend to Class 5 creditors (by way of an
                                         increase in the purchase price for all of the New LLC
                                         Interests being transferred to the Plan Funders under the
                                         Plan) and otherwise fully binds and commits the Qualifying
                                         Bidder to fund or otherwise satisfy all Plan obligations
                                         (including, without limitation, the indefeasible payment in
                                         full of the Arcus Holders DIP Claims, the CIT Loan Claims
                                         and the CIT DIP Claims) and complies with all terms,
                                         conditions and requirements of the Plan.

                                  iv.    Subsequent Bids. Debtors shall not consider any
                                         subsequent bid made at the Auction unless the bid is made
                                         by a Qualified Bidder who has previously made a Qualified

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                                          Bid and such subsequent bid exceeds the previous highest
                                          or best bid by at least $100,000.00 in cash (subject to the
                                          provisions of subsection (v) below).

                                  v.      Subsequent Plan Funder Bids. Plan Funders shall have the
                                          right to credit bid up to the amount of the Obligations in the
                                          amount of any subsequent bid that it makes at the Auction.
                                          No other Qualified Bidder may propose a credit bid or
                                          credit bid. If, as a result of a subsequent bid made by Plan
                                          Funders at the Auction, the Plan Funders are the Winning
                                          Bidder or the Back-Up Bidder (as defined therein), the Plan
                                          Funders shall be entitled to credit the amount of the Break-
                                          Up Fee and Obligations against the Purchase Price payable
                                          at Closing.

                                  vi.     Other Terms. At the conclusion of the Auction, the
                                          winning bid shall be the bid made pursuant to the Order
                                          approving these procedures that represents, in Debtors’
                                          reasonable discretion, upon consultation with the
                                          Committee, the highest or best offer (the “Winning Bid”).
                                          The Debtors may not solicit, receive or consider bids for
                                          the New LLC Interests under the Plan after the Auction.
                                          The bidder submitting such Qualified Bid shall become the
                                          “Winning Bidder,” and shall have such rights and
                                          responsibilities of the Plan Funder as set forth in the Plan.
                                          No less than two (2) days prior to the Confirmation
                                          Hearing, the Winning Bidder (if other than the Plan
                                          Funder) shall (a) complete and execute all agreements,
                                          contracts, instruments or other documents evidencing and
                                          containing the terms and conditions upon which the
                                          Winning Bid was made, i.e. shall file a Second Amended
                                          Plan which evidences the Successful Bid and (b) post cash
                                          and/or acceptable Letter of Credit for the full amount of the
                                          obligations and undertakings under the Plan (estimated to
                                          be in an amount no less than ninety million ($90,000,000)
                                          dollars. Debtors will not be deemed to have finally
                                          accepted any bid until the bid has been approved by the
                                          Bankruptcy Court at the Confirmation Hearing.

                                  vii.    Retention of Deposit. The Deposit of the Winning Bidder
                                          shall be forfeited and retained by Debtors as liquidated
                                          damages in the event of a Winning Bidder default.

                                  viii.   Failure to Close. In the event a bidder is the Winning
                                          Bidder (as determined by Debtors, upon consultation with
                                          the Committee and as approved by the Bankruptcy Court),
                                          and such Winning Bidder fails to consummate the sale as a

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                                         result of the Winning Bidder’s default or breach under the
                                         Plan in accordance with the terms of such Plan by the
                                         Effective Date contemplated in such Plan, Debtors shall: (i)
                                         retain the Winning Bidder’s Deposit as liquidated damages;
                                         and (ii) upon consultation with the Committee, be free to
                                         enter into a new Plan with the Back-Up Bidder at the
                                         highest price bid by the Back-Up Bidder at the Auction (or,
                                         if the Back-Up Bidder is unable to consummate the Plan at
                                         that price, Debtors, upon consultation with the Committee,
                                         may consummate the Plan with the next highest Qualified
                                         Bidder at the Auction) without the need for an additional
                                         hearing (or additional Order) before the Bankruptcy Court.

                                  ix.    Break-Up Fee. In the event the Plan Funders do not submit
                                         the Winning Bid and the Debtors businesses are transferred
                                         to a party other than Plan Funders, they shall be entitled to
                                         receive a Break-Up Fee in the amount of $2,500,000.00
                                         payable on the Effective Date of the Plan or at the Closing
                                         or the consummation of any transfer of the Debtors’
                                         business to a party other than the Plan Funders. In the
                                         event the Plan Funders are the Winning Bidder, then the
                                         provisions of Section (d)(v) above apply.

                         e.       Expenses. Any bidders presenting bids shall bear their own
                                  expenses in connection with their bid and the Auction, whether or
                                  not such sale is ultimately approved, in accordance with the terms
                                  of the Plan executed and filed by such bidders prior to the
                                  confirmation hearing.

Conflict. Any conflict between the terms and conditions of this Order and any Plan executed by
any of the bidders (including Plan Funder’s Plan) shall be resolved in favor of the Plan.




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